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UNITED STATES DISTRICT COURT

DISTRICT OF SOUTH DAKOTA

CENTRAL DIVISION

SOUTH DAKOTA FARM BUREAU,
INC.; SOUTH DAKOTA SHEEP
GROWERS ASSOCIATION, INC.;
HAVERHALS FEEDLOT, INC.;
SJOVALL FEEDYARD, INC.;

FRANK D. BROST; DONALD

TESCH; WILLIAM A. AESCHLIMANN;
SPEAR H RANCH, INC.; MARSTON
HOLBEN; MARSTON AND MARION
HOLBEN FAMILY TRUST; MONTANA-

Civ. No. 99-3018 CBK

DEFENDANTS HAZELTINE AND BARNETT'S
REPLY TO PLAINTIFFS' OPPOSITION
TO DEFENDANT-STATE'S MOTION

DAKOTA UTILITIES CO.; NORTH-
WESTERN PUBLIC SERVICE; and
OTTER TAIL POWER COMPANY,

FOR PARTIAL SUMMARY JUDGMENT
REGARDING EQUAL PROTECTION
AND BIG STONE PARTNERS!

REPLY BRIEF OPPOSING
STATE DEFENDANTS! MOTION FOR
PARTIAL SUMMARY JUDGMENT

Plaintiffs,
Vv.
JOYCE HAZELTINE, in her
official capacity as
Secretary of State of South
Dakota, and MARK BARNETT,
in his official capacity as
Attorney General of South
Dakota,

Defendants,
and
DAKOTA RURAL ACTION and

SOUTH DAKOTA RESOURCES
COALITION,

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Defendant-Intervenors. )
In reply to Plaintiffs' Opposition to Defendant State's
Motion for Partial Summary Judgment Regarding Equal Protection,
Doc. 123, and Big Stone Partners! Reply Brief Opposing State
Defendants' Motion for Partial Summary Judgment, Doc. 124,

Defendants Hazeltine and Barnett submit the following:
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A. The Claims Brought by the Utility Plaintiffs Based Upon
Deregulation of the Flectric Industry Are Not Ripe for

As part of their Motion for Partial Summary Judgment,
Defendants Hazeltine and Barnett asserted that the issue raised
by the three electric utility plaintiffs in this case regarding
electric deregulation is not ripe for consideration by the Court.
The Plaintiff Utilities (Montana-Dakota Utilities Company,
Northwestern Public Service, and Otter Tail Power Company) filed
a response asserting that the deregulation issue is only "one
aspect of the ultimate issue" and should not be separately
considered under a ripeness analysis. Big Stone Partners' Reply
Brief, Doc. 124, at 2. In the alternative, Plaintiff Utilities
assert that the deregulation issue would independently survive a
ripeness analysis because it "carries with it sufficient
operational inevitability to warrant consideration." Ibid.

It is apparent from Big Stone Partners' Response to
Defendants' Statement of Material Facts in Support of Defendants'
Motion for Partial Summary Judgment, Doc. 124, Ex. A, that there
is no significant dispute among the parties regarding the status
of electric utility deregulation in this country. Several states
have considered and enacted various deregulation laws. Although
an employee of one of the Plaintiffs has indicated that
deregulation at the federal level by the Federal Energy
Regulatory Commission is "on its way," the FERC has not
deregulated the electric utility industry. Id. at § 6. Congress

has not taken this step either. Id. at J 1. In other words,
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although the electric utility industry believes that deregulation
is inevitable, the extent and timing of such deregulation is
unknown and is dependent upon the vagaries of the political
process. Despite Utility Plaintiffs' stated confidence in the
"operational inevitability" of electric deregulation, none of the
three utilities produced any documents during discovery which
would reveal that they are engaged in planning efforts of any
detail whatsoever regarding restructuring or other planning that
would take place upon deregulation.

Against this background, Plaintiff Utilities assert that the
deregulation question is only one factual aspect of the case and
should be rolled into an overall determination on the "ultimate
issue" of the constitutionality of Amendment FE. Yet it is fairly
clear in reviewing the Amended Complaint (Doc. 96) that the
Plaintiff Utilities have raised the deregulation issue as one of
three or four issues giving rise to the overall constitutional
claims. Doc. 96, Amended Complaint, §§ 107-10. As an issue in
this case, the Plaintiff Utilities have separately claimed that
"Amendment E will exacerbate deregulation." Big Stone Partners'
Reply Brief, Doc. 126, at 5. It is apparent from both the
Amended Complaint, as well as the responsive brief, that the
deregulation issue is intended to be positioned as a separate
issue. The deregulation issue is not, as suggested by the
Plaintiff Utilities, one aspect which can simply be rolled into
an overall determination. Given the uncertainty of the timing
and extent of deregulation, considering adverse impacts occurring

as a result of deregulation is completely unwarranted.
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When necessary, courts deal with this Situation by
considering the issues which are actually ripe at the time of the
litigation. Then, other issues which are not ripe at that time

can be brought at a future time. Pacific Gas and Electric Co. v

Energy Resources Commission, 461 U.S. 190, 203 (1983). In

Pacific Gas, the United States Supreme Court held that review of
one constitutional issue was appropriate (moratorium on new
nuclear plants) because it was presently in effect. However, the
Court did not consider another provision of the same statute
conditioning new construction of a nuclear plant on future state
energy commission findings that adequate storage is available to
handle the waste. The Court held that it would be premature to
rule on the constitutionality of this waste storage provision
since the state energy commission had not made the factual
finding as required by the Act. Id. at 203. The Court did not
take the position that since one issue was being considered,
another more speculative issue must necessarily be rolled into
the case.

Surprisingly, the Plaintiff Utilities cite to Meadows of

West Memphis v. City of West Memphis, 800 F.2d 212 (8th Cir.

1986). The West Memphis decision does not attempt to roll the
future action of a legislative body into the facts of a presently
pending case. ‘There, the court specifically held that the city's
rejection of public financing for an apartment complex for one
year constitutes the presence of real injury. The court held

that it was proper to consider the one-year delay issue and the
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legal effect of the delay itself. This was not a situation where
the court considered future decision making. Indeed, the court
stated that it was not inclined to become entangled in "abstract
disagreements over the meaning of executive or administrative
decision making before the process has become concrete" or to
"sit in final judgment over an Act of Congress before it was
necessary to do so." Id. at 214. In other words, the Eighth
Circuit determined that it is proper to address an issue to the
extent that a controversy exists, and no more.

Lest there be concern regarding piecemeal litigation, the
Plaintiff Utilities have made the choice of filing a lawsuit now
(before legislative action on deregulation has occurred). If the
Plaintiffs' desire was to avoid piecemeal litigation and to roll
together all issues in one lawsuit, Plaintiff Utilities had the
choice of waiting to file action after deregulation laws were

enacted.?

* Defendants also chose to present this case in federal rather
than state court. By referring to "the possible occurrence of
other, future injuries" (Big Stone Partners' Reply Brief,

Doc. 126, at 6) and filing the damage calculation document,

Doc. 126, Exhibit B, Big Stone Partners' Reply Brief may be
signaling an intent to file a money claim against the state.
Obviously, such a money claim could not be brought in this Court
due to the Eleventh Amendment. Moreover, the Plaintiff Utilities
have not attempted to ask this Court to resolve any predicate
legal questions relating to a takings analysis (nor should they).
The Plaintiff Utilities have asserted that their challenge is a
"facial challenge" and not the type of searching legal analysis
involving individual property, the expectations of the parties,
and specific damages which would be required within a takings
analysis. See Hodel v. Virginia Surface Mining and Reclamation
Ass'n, 452 U.S. 264, 293-94 (1981). In other words, if
Plaintiffs choose to pursue this angle, later litigation will
occur anyway.

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Plaintiff Utilities' brief next cites to Bob's Home Service.

inc. v. Warren County, 755 F.2d 625 (8th Cir. 1985) .? Bob's Home
Service held that the ripeness test ig whether plaintiffs meet
the case or controversy requirements of Article III of the United
States Constitution and whether prudential considerations justify
the present exercise of judicial power. Id. at 627. There, the
county had developed a master plan which would not allow for
construction of a landfill and the same county had taken the
position that the state must necessarily deny a state permit for
the same landfill due to the master plan. The Eighth Circuit
held that the facts were developed enough to rule on an equal
protection challenge to the master plan. The challenge there was
not like the one at bar where some future and unpredictable
legislative questions regarding the action is being alleged.
Questions regarding the pending state permit in Bob's Home
Service did not need to be resolved since the facility could not
be built anyway due to the master plan. There was no need to
wait for future action that would not affect the litigation.

The Plaintiff Utilities also rely on Pacific Gas in support
of their position. Similar to the cases set forth above, Pacific
Gas supports the Defendants' proposition. Indeed, the two claims
in the Pacific Gas case arose from an act which had already been
passed by the California legislature. That case did not involve

any conjecture about future action by the Congress or a state

* The Defendants' opening brief at page 5 erroneously
characterizes Bob's Home Service. See supra.

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legislature. Further, as stated above, the United States Supreme
Court specifically held that one of the issues in Pacific Gas was
ripe for consideration, but held that other matter was not
sufficiently concrete to justify consideration by the court.

The Plaintiff Utilities rely on The Regional Rail

Reorganization Act Cases, 419 U.S. 102, 143 (1974). Congress had

enacted legislation dealing with a national rail crisis
precipitated by bankruptcy proceedings. There, Congress had
already enacted the Regional Reorganization Act. The Rail Act
provided that rail properties must be conveyed from railroads to
Conrail in return for Conrail securities and that the railroads
must continue operating pending reorganization. The Court
addressed the question of whether the Tucker Act is applicable to
compensate for takings under the Rail Act. Further, the Court
considered whether the requirement that railroad assets be traded
for securities was constitutionally valid (conveyance taking
issue). The Court specifically held that it would hear the
conveyance taking issue because the Rail Act was presently in
place and mandated the trade of assets for securities. id. at
142. The Rail Act left no choice as to the conveyance. Id. The
fact that the conveyance had not yet occurred was irrelevant
because a congressional act was in place that required the
conveyance. However, the Court did not consider all contentions.
Id. at 145, 146. It held that considerations regarding the
method of, or the consideration for, the conveyances were
premature because a plan had not yet been developed to implement

the Rail Act. Id. at 147. The Court specifically made a finding
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that the existing law providing for railroad restructuring could
be reviewed, but valuation questions which would arise after the
law was actually implemented should not be reviewed. In other
words, the Court avoided situations where a speculative
determination must be made.

Further, the Plaintiff Utilities rely on In re Workers
Compensation Refund, 46 F.3d 813, 821-22 (8th Cir. 1995). Based
on that case, Plaintiff Utilities argue that it is not necessary
for the state to actively begin enforcement under Amendment E in
order for a lawsuit to occur. The State has never argued in this
proceeding that Plaintiffs must actually be facing enforcement in
order to have their day in federal court.

Finally, the Plaintiff Utilities rely on Hodel v. Virginia

Surface Mining and Reclamation Ass'n, 452 U.S. 264, 283, 293-94

(1981).° This case was cited by the Defendants to explain that
constitutional questions should not be decided until the claimed
facts actually exist. The Utility Plaintiffs use Hodel to assert
that whether a matter is ripe or not varies depending on the
claim made. Under Hodel, the Court reiterated its "oft-repealed
admonition" that the constitutionality of statutes should not be
decided except in an actual factual setting. Hodel, 452 U.S. at

294-95. With regard to an as-applied takings claim, the Court

* The reason for Plaintiffs’ initial citation (452 U.S. at 283)

is unclear. There, the Court addressed arguments that federal
statutes are unnecessary when existing federal laws cover the
same area. The Court held that consideration of whether existing
statutes were adequate is a matter committed to the discretion of
the Congress. It is not clear how this "necessity" argument
applies here.
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determined that the claim must be considered on an individualized
basis where specific parcels of land are involved and specific
investment -backed expectations are considered. On the other
hand, takings claims concerning facial challenges such as made in
Hodel turn on the mere enactment of the law. In such unique
"facial takings claims," the standard would be whether the act
categorically prohibits any owner from any economically viable
use of the property described in the act.’ Regardless of whether
a facial or an "as-applied" challenge is involved here, Plaintiff
Utilities have not cited to any case that would require a court
to decide whether a challenged state law would exacerbate the
result and impacts of anticipated legislation.

B. Plaintiff's Equal Protection Claims Have Already Been
Determined by the Fighth Circuit.

The equal protection clause of the Fourteenth Amendment
mandates that no person® be denied the equal protection of the
law. This clause, however, coexists "with the practical
necessity that most legislation classifies for one purpose or
another, with resulting disadvantage to various groups of
persons". Romer v. Evans, 517 U.S. 620, 631 (1996). The Romer
Court explains that this dichotomy between "the principle with

the reality" is reconciled by the test applied to equal

“Again, if this reference to Hodel is intended to signal that
the present action will involve any kind of taking claim, such
claim was neither pled nor is properly before this Court. The
Eleventh Amendment applies.

° A corporation is a "person" under the Fourteenth Amendment and
under equal protection analysis. MSM Farms v. Spire, 927 F.2d
330, 332, cert, denied, 502 U.S. 814 (8th Cir. 1991).

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protection analysis. Id. Under equal protection analysis, if a
law neither burdens a fundamental right nor targets a suspect
class, it will be upheld so long as it bears a rational

relationship to some legitimate end. Central State University v.

American Association of University Professors, 526 U.S. 124, 127-

128 (1999); Romer, 517 U.S. at 631; City of Cleburne v.

Cleburne Living Center, Inc., 473 U.S. 432, 440 (1985).

Legislation which employs a suspect classification, or impinges
on a fundamental constitutional right, merits stricter scrutiny
and will survive only if it is narrowly tailored to serve a
compelling governmental interest. Id.

Plaintiffs assert that an additional middle test, "rational
basis with a bite," was followed in Romer and is the appropriate
test to apply to the equal protection analysis of Amendment E.
Romer, however, neither followed such a test nor applied it.

The "rational basis with a bite" test for equal protection
analysis is referred to as early as 1978 in Felix v. Milliken,
463 F.Supp. 1360, 1368 (E.D.Mich. 1978), well before the 1991 MSM
Farms decision was issued by the Eighth Circuit, and before the
1996 Romer decision by the Supreme Court. The Felix Court notes:

A close examination of the cases that have invoked

[this] arguably higher standard of review in equal

protection cases not involving previously identified

fundamental interests or suspect classifications

indicates that these cases divide primarily along two

lines: (1) classification schemes which use

illegitimacy as a basis for discriminating between one

group and another; and (2) gender-based
discrimination.

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Felix, 463 F.Supp. at 1368. Certainly the classifications which
Plaintiffs assert were established by Amendment E fit in neither
of these categories.

Further, the Romer decision did not refer to this "rational
basis with a bite" test; instead, its decision is simply that
the constitutional amendment there being reviewed lacked any
rational relationship to legitimate state interests. Romer, 517
U.S. at 632. Romer involved a constitutional amendment adopted
in Colorado by initiated measure which totally prohibited the
enactment of any law or policy, by any state agency or local
government, of any laws which would confer any minority status,
quota preferences, protected status, or claim of discrimination
upon homosexual persons. Romer, 517 U.S. at 624. The Supreme
Court invalidated this constitutional amendment on equal
protection grounds because the law had not been enacted in
pursuit of a legitimate government interest. Id. at 632. The
amendment was, to quote the Court, "an exceptional and
invalid form of legislation." Id. at 632. Indeed, the Eleventh
Circuit Court of Appeals recently interpreted Romer as applying
only to cases where the legislation being attacked is based upon
no legitimate state interest. Williams v. Pryor, F.3d __,
2000 WL 1513756 (11th Cir. 2000).

Even Plaintiffs agree that the "rational basis with a bite"
test applies when the legislation involved is so "overly broad"
or "far removed" from the asserted legislative justifications
that it is "insincere" or "impossible to credit." Plaintiffs’

Opposition to Defendant-State's Motion for Partial Summary

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Judgment Regarding Equal Protection, Doc. 123, at 13. The
asserted justification for Amendment E, however, is not one of
such tokenism or insincerity. Indeed, the Bighth Circuit in MSM
Farms specifically held that the justification for the Nebraska
anti-corporate farming amendment, which is manifestly similar to
Amendment E, was not only colorable, but also rational and
merited rejection of an equal protection claim. The only way
that Plaintiffs' asserted interpretation of Romer could apply to
this equal protection challenge of Amendment E would be for this
Court to find that the same justifications which were found
rational in MSM Farms are now, with regard to Amendment E,
insincere and impossible to credit.

Plaintiffs also cite Allegheny Pittsburgh Coal Company v.

County Commission, 488 U.S. 336 (1984), as authority for the

"rational basis with a bite" test. This reference is also

misplaced. Allegheny is unique because it involved legislative
actions by county officials which did not comply with the state's
own laws or practice, and which lacked any indications of a

rational underlying policy. Nordlinger v. Habn, 505 U.S. 1, 14-

15 (1992). This decision was made even though the case involved
a tax measure, which under equal protection analysis is usually
granted even more deference than other measures reviewed under
the rational basis test. The Allegheny decision, like Romer, was
based upon legislative actions which clearly had no rational
justification, and are not applicable to an equal protection

analysis of Amendment E.

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Amendment E involves none of the classifications subjected
to the "rational basis with a bite" test; it is also not
legislation based upon no legitimate state interest. Neither the
"rational basis with a bite" test nor the Romer decision apply.

Plaintiffs also assert that the analysis followed by the MSM
Farms Court has been "superceded" by the Supreme Court's decision
of Romer v. Evans, 517 U.S. 620 (1996). However, equal
protection decisions issued since Romer continue to be premised
on the same test used in MSM Farms: that, so long as a
fundamental right or suspect class are not burdened by the
legislation, the legislative classification is upheld if it bears
a rational relation to some legitimate end. See, e.g., United

States v. Mound, 149 F.3d 799, 801 (8th Cir. 1998) (equal

protection challenge to evidentiary rules establishing exceptions
to practice of excluding prior bad acts evidence); Von

Kerssenbrock-Praschma v. Saunders, 121 F.3d 373, 378 (8th Cir.

1997) (legislation prohibiting transfer of farmland to aliens).
Thus, the traditional equal protection analysis applied by
the MSM Farms Court on the Nebraska anti-corporate farming
constitutional amendment also applies to Amendment E. Although
Plaintiffs set out the classes they allege are created by
Amendment E, Plaintiffs' Opposition to Defendant State's Motion
for Partial Summary Judgment Regarding Equal Protection,
Doc. 123, at 5-8, they do not allege that these classes are
suspect classes or burden some fundamental rights. As a result,
the "test" applied under equal protection analysis is exactly

that applied by the Bighth Circuit Court of Appeals in MSM Farms:

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the rational basis test. Under this test, a statute is
constitutional so long as "there is any reasonably conceivable
state of facts that could provide a rational basis for" it. Fcc

v. Beach Communications, Inc., 508 U.S. 307, 314 (1993).

The Defendants Hazeltine and Barnett's Motion for Partial
Summary Judgment (Doc. 102) regarding the equal protection claim
was limited to a claim that the MSM Farms decision of the Eighth
Circuit was controlling precedent because of the extreme
similarity between the Nebraska constitutional amendment there
reviewed, and Amendment E now before this Court. Equal
protection analysis has not, as is alleged by Plaintiffs, been
changed by Romer.

Defendants Hazeltine and Barnett, therefore, respectfully
request that their Motion for Partial Summary Judgment be

granted.
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Dated this day of November, 2000.
Respectfully submitted,

MARK BARNETT
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct

copy of Defendants Hazeltine and Barnett's Reply to Plaintiffs'

Opposition to Defendant-State's Motion for Partial Summary

Judgment Regarding Equal Protection and Big Stone Partners' Reply

Brief Opposing State Defendants' Motion for Partial Summary

Judgment in the matter of South Dakota Farm Bureau, Inc,, et al.
v. Joyce Hazeltine, et al., was served upon each of the following

by enclosing the same in envelopes with first class postage,

prepaid and affixed thereto, and depositing said envelopes in the

United States mail, at Pierre, South Dakota, on this /P day

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